                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


MUTAZ M. ABUSHAWISH, and
MHAMMAD A. ABU-SHAWISH

                      Plaintiffs,
                                                   Case No.: 20-CV-1914

v.

MILWAUKEE COUNTY,
DANIEL O. HUMPHREYS,
MICHAEL GALEZEWSKI, and
EARNELL LUCAS

                      Defendants.


     PLAINTIFFS’, MUTAZ ABUSHAWISH’s AND MHAMMAD ABU-SHAWISH’s,
      MOTION FOR SUMMARY JUDGMENT AGAINST DEFENDANTS DANIEL
                   HUMPHREYS and MICHAEL GALEZEWSKI


        NOW COME the plaintiffs, Mutaz Abushawish and Mhammad Abu-Shawish, and by and

through their attorneys, Martin Law Office, S.C., and respectfully move this court, the Hon.

Lynn Adelman presiding, for an order granting partial summary judgment pursuant to Fed. R. R.

Civ. P. 56 and Civil L.R. 56. Specifically, the plaintiffs move for an order granting partial

summary judgment as to the following claims:


     (1) Against Daniel Humphreys as to Mutaz Abushawish’s claim, pursuant to 42 U.S.C. §
         1983, that Daniel Humphreys arrested Mutaz Abushawish unlawfully without probable
         cause in violation of Mutaz Abushawish’s Fourth Amendment Rights, as alleged in the
         plaintiff’s first cause of action.

     (2) Against Daniel Humphreys as to Mutaz Abushawish’s claim, pursuant to 42 U.S.C. §
         1983, that Daniel Humphreys unlawfully seized Mutaz Abushawish’s personal effects in
         violation of Mutaz Abushawish’s Fourth Amendment Rights, as alleged in the plaintiff’s
         first cause of action.




           Case 2:20-cv-01914-LA Filed 12/13/21 Page 1 of 2 Document 19
   (3) Against Daniel Humphreys as to Mhammad Abu-Shawish’s claim, pursuant to 42 U.S.C.
       § 1983, that Daniel Humphreys unlawfully seized Mhammad Abu-Shawish’s personal
       effects in violation of Mutaz Abushawish’s Fourth Amendment Rights, as alleged in the
       plaintiff’s first cause of action.

   (4) Against Michael Galezewski as to Mutaz Abushawish’s claim, pursuant to 42 U.S.C. §
       1983, that Michael Galezewski unlawfully arrested Mutaz Abushawish without probable
       cause in violation of Mutaz Abushawish’s Fourth Amendment Rights, as alleged in the
       plaintiff’s first cause of action.

   (5) Against Michael Galezewski as to Mhammad Abu-Shawish’s claim, pursuant to 42
       U.S.C. § 1983, that Michael Galezewski unlawfully seized Mhammad Abu-Shawish’s
       personal effects in violation of Mutaz Abushawish’s Fourth Amendment Rights, as
       alleged in the plaintiff’s first cause of action.

       The Grounds for this motion for partial summary judgment are stated in the plaintiff’s

Memorandum in Support of Plaintiff’s Motion for Summary Judgment against Defendants

Daniel Humphreys and Michael Galezewski. The motion is further supported by the pleadings,

the Plaintiff’s Proposed Findings of Fact and the Declaration, including exhibits, of Drew J.

DeVinney.

       Dated: December 13, 2021           MARTIN LAW OFFICE, S.C.
                                          Attorney for Plaintiff(s)


                                          Electronically Signed by Drew J. DeVinney

                                          ____________________________________
                                          Drew J. De Vinney
                                          State Bar No. 01088576

ADDRESS
7280 S. 13th St., Ste.102
Oak Creek, WI 53154
414-856-2310 (office)
414-856-2315 (fax)
drew@martin-law-office.com




                                             2

          Case 2:20-cv-01914-LA Filed 12/13/21 Page 2 of 2 Document 19
